          Case 2:07-cr-00029-RSM          Document 53        Filed 02/06/07     Page 1 of 3




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06                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
07                                       AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR07-029-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   NGHIA TRONG HUYNH,                   )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Manufacture Marijuana; Conspiracy to Possess Marijuana

15 with Intent to Distribute

16 Date of Detention Hearing:     February 6, 2007

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with the offenses of Conspiracy to Manufacture

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
           Case 2:07-cr-00029-RSM           Document 53        Filed 02/06/07       Page 2 of 3




01 Marijuana; Conspiracy to Possess Marijuana with Intent to Distribute. The maximum penalty of

02 this offense is in excess of ten years. There is therefore a rebuttable presumption against defendant

03 as to both dangerousness and flight risk, under 18 U.S. C. §3142(e).

04          2.      Defendant is a United States citizen with strong family ties to Vietnam. Until

05 approximately one month ago, he resided in Oklahoma. The AUSA alleges that he moved to this

06 District for the sole purpose of beginning the marijuana grow operation that is the subject of the

07 indictment. He is not employed in this District. Although the defendant resides in Puyallup, the

08 AUSA proffers that the house is owned by defendant’s girlfriend and that the property is subject

09 to forfeiture in that it was allegedly one of the premises in which the grow operation was being

10 carried out. The defendant has no other ties to this District. He has a 1998 conviction for

11 possessing and receiving stolen property.

12          3.      Taken as a whole, the record does not effectively rebut the presumption that no

13 condition or combination of conditions will reasonably assure the appearance of the defendant as

14 required and the safety of the community.

15 It is therefore ORDERED:

16          (1)     Defendant shall be detained pending trial and committed to the custody of the

17                  Attorney General for confinement in a correction facility separate, to the extent

18                  practicable, from persons awaiting or serving sentences or being held in custody

19                  pending appeal;

20          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

21                  counsel;

22          (3)     On order of a court of the United States or on request of an attorney for the

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
     PAGE 2
         Case 2:07-cr-00029-RSM          Document 53       Filed 02/06/07      Page 3 of 3




01               Government, the person in charge of the corrections facility in which defendant is

02               confined shall deliver the defendant to a United States Marshal for the purpose of

03               an appearance in connection with a court proceeding; and

04         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

05               counsel for the defendant, to the United States Marshal, and to the United States

06               Pretrial Services Officer.

07         DATED this 6th day of February, 2007.



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09                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
